    Case 1:19-cv-02985-ALC-GWG                   Document 440     Filed 09/30/22    Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------x
 Thomas Schansman, et al.,                                   :
                                             Plaintiffs,     :
                                                             :
                          -against-                          :   1:19-CV-02985 (ALC) (GWG)
                                                             :
                                                             :               ORDER
 Sberbank of Russia PJSC et al.,                             :
                                             Defendants. :
 ----------------------------------------------------------- x

 ANDREW L. CARTER, JR., United States District Judge:

          The Court will hold a conference regarding the jurisdictional discovery dispute related to

 Sberbank's sovereign immunity arguments (ECF Nos. 257 and 311).


          The telephonic conference will take place on October 20, 2022 at 11 A.M. Eastern Time.

 The Parties should contact the court at 1-888-363-4749 (Access Code: 3768660).



          As such, the Clerk of Court is respectfully directed to terminate ECF No. 257 for further

 proceedings.




  SO ORDERED.



 Dated:     Sept 30, 2022
             New York, New York

                                                                 ANDREW L. CARTER, JR.
                                                                 United States District Judge
